:%

4
eb A ; R
a: = | 4% 5 mh te ue
Se meh Seta ws

Case 1:10-cv-00531-LJB. Document at 01/28/11 Page 1 of 12

 

In the United States Court of Federal Claims

 

No. 10-531 C
FILED
(Filed January 28, 2011)
JAN 2 8 2011
UNPUBLISHED U.S. COURT OF
FEDERAL CLAIMS

 

 

 

OK OR OK Ok OR OK Ok KOK OK OK Ok Ok OK OK OK OK OK OR

DEBORAH BURNS, Pro Se, * Constitutional Claims; Tort Claims;
* Criminal Claims; Civil Rights
Plaintiff, * Claims; Unjust Conviction
si Statute, 28 U.S.C. § 1495 (2006);
V. . General Equitable Relief;
* Tucker Act, 28 U.S.C. § 1491(a)(1)
THE UNITED STATES, * (2006); RCFC 12(b)(1).
*
Defendant. *

ok ok ok OR ok Kk Ok Ok Ok Ok KR OK OK OR RR OK OK

Deborah Burns, Houston, TX, pro se plaintiff.

Kenneth S. Kessler, United States Department of Justice, with whom were
Tony West, Assistant Attorney General, Jeanne E. Davidson, Director, and Kirk
Manhardt, Assistant Director, Washington, DC, for defendant.

 

OPINION

 

Bush, Judge.

Now pending before the court is defendant’s motion to dismiss, which has
been fully briefed and is ripe for a decision by the court. Because the court lacks
subject matter jurisdiction over the claims raised in the complaint, those claims
must be dismissed pursuant to Rule 12(b)(1) of the Rules of the United States
Court of Federal Claims (RCFC).
Case 1:10-cv-00531-LJB Document 13 Filed 01/28/11 Page 2 of 12

BACKGROUND'
I. Factual Background

Plaintiff Deborah Burns (Ms. Burns) was convicted in the United States
District Court for the Eastern District of Wisconsin of cocaine possession with
intent to distribute, conspiracy to possess and distribute cocaine, and interstate
travel in furtherance of the distribution of cocaine in violation of various
provisions of Titles 18 and 21 of the United States Code. Ms. Burns was
subsequently sentenced to 121 months incarceration as to the first count of the
indictment, 121 months as to the second count, and sixty months as to the third
count, all to be served concurrently. Ms. Burns filed an appeal in the United
States Court of Appeals for the Seventh Circuit, which affirmed the conviction.’

II. Procedural History

On August 9, 2010, plaintiff filed her complaint in this case. In the
complaint, Ms. Burns asks this court to vacate her conviction and award $250
million in damages for the “denial of [the] right to appeal [her] wrongful
incarceration and conviction....” Compl. at 1. Here, the court will attempt to
discern the arguments set forth in the complaint. First, Ms. Burns claims that her
conviction violated the Double Jeopardy Clause of the Fifth Amendment. Next,
Ms. Burns asserts that her conviction was based in part on statements that were
elicited by law enforcement agents without providing the warnings required by the
United States Supreme Court’s decision in Miranda y. Arizona, 384 U.S. 436
(1966). Third, Ms. Burns asks this court to issue a writ or other order vacating her
conviction in the district court based on her assertion that the substance seized by
federal law enforcement agents was not actually cocaine. Finally, Ms. Burns seeks
$250 million in compensation for her wrongful conviction and incarceration and

 

'/ The facts recounted here are taken from the parties’ filings, and appear to be
undisputed for the purpose of resolving defendant’s motion to dismiss. The court makes no
findings of fact in this opinion. A more complete account of the criminal proceedings leading to
this suit is presented in United States v. Burns, 37 F.3d 276 (7th Cir. 1994).

*/ In December 2009, Ms. Burns filed a motion with the Seventh Circuit to recall the
mandate in her appeal of an apparent denial of a petition for a writ of habeas corpus. The
Seventh Circuit denied that motion on January 19, 2010.

2
Case 1:10-cv-00531-LJB Document 13 Filed 01/28/11 Page 3 of 12

for the failure of the district court and the Seventh Circuit to overturn that
conviction.

Defendant moves to dismiss the complaint for lack of subject matter
jurisdiction under RCFC 12(b)(1). In its motion to dismiss, the government argues
that Ms. Burns has failed to assert any money-mandating source of law to confer
jurisdiction upon this court under the Tucker Act, 28 U.S.C. § 1491(a)(1) (2006).
Defendant notes that this court does not possess jurisdiction over claims based on
criminal violations, nor does it have the authority to issue writs of habeas corpus.
Because all of Ms. Burns claims are dependent upon the validity of her conviction,
the government contends that this court does not have jurisdiction over them.

In her response to defendant’s motion to dismiss, Ms. Burns asserts that this
court must exercise jurisdiction over her claims because other federal courts have
refused to overturn her conviction. Plaintiff asserts that the district court did not
have jurisdiction over the original criminal charges against her, and that
defendant’s motion to dismiss her claims in this court constitutes an attempt to
deprive her of her civil rights. Finally, Ms. Burns asserts that she is entitled to
damages as compensation for “pain and suffering, slavery, sexual assault and loss
of pursuit of livelihood of income” during her ten-year incarceration. Pl.’s Resp.
at 1.

In its reply, defendant once again argues that this court lacks jurisdiction
over the claims raised in the complaint because Ms. Burns has not asserted any
substantive legal basis for her claims. Defendant notes that none of the potential
constitutional or other legal bases for the claims raised by Ms. Burns fall within
this court’s jurisdiction under the Tucker Act because they do not mandate the
payment of money by the government.

On December 1, 2010, Ms. Burns filed, with leave of the court, a sur-reply
to defendant’s reply. In her sur-reply, plaintiff reiterates her contention that
jurisdiction is proper in this court because other courts have denied her claims for
relief. In addition, Ms. Burns argues that the United States Constitution is a
contract, and that this court thus has jurisdiction over her claims on that basis.
Plaintiff also asserts that this court has jurisdiction over civil rights claims and
suits that sound in tort. Finally, plaintiff states, without explanation, that she is
entitled to treble damages in this case.
Case 1:10-cv-00531-LJB Document 13 Filed 01/28/11 Page 4 of 12

DISCUSSION
1. Pro Se Litigants

Pro se plaintiffs are entitled to a liberal construction of their pleadings. See
Haines v. Kerner, 404 U.S. 519, 520 (1972) (requiring that allegations contained
in a pro se complaint be held to “less stringent standards than formal pleadings
drafted by lawyers”). However, “[t]here is no duty on the part of the trial court to
create a claim which [the plaintiff] has not spelled out in his pleading.” Scogin v.
United States, 33 Fed. Cl. 285, 293 (1995) (quoting Clark v. Nat’l Travelers Life
Ins. Co., 518 F.2d 1167, 1169 (6th Cir. 1994)). Here, the court has thoroughly
examined the complaint, the response to defendant’s motion to dismiss and the
sur-reply to defendant’s reply, and has attempted to discern all of the legal
arguments contained therein.

II. Jurisdiction and Standard of Review

In rendering a decision on a motion to dismiss for lack of subject matter
jurisdiction pursuant to RCFC 12(b)(1), this court must presume all undisputed
factual allegations to be true and must construe all reasonable inferences in favor
of the plaintiff. Scheuer v. Rhodes, 416 U.S. 232, 236 (1974), abrogated on other
grounds by Harlow vy. Fitzgerald, 457 U.S. 800, 814-15 (1982); Reynolds v. Army
& Air Force Exch. Serv., 846 F.2d 746, 747 (Fed. Cir. 1988). The relevant issue in
a motion to dismiss under RCFC 12(b)(1) “‘is not whether a plaintiff will
ultimately prevail but whether the claimant is entitled to offer evidence to support
the claims.’” Patton v. United States, 64 Fed. Cl. 768, 773 (2005) (quoting
Scheuer, 416 U.S. at 236). The plaintiff bears the burden of establishing subject
matter jurisdiction, Alder Terrace, Inc. v. United States, 161 F.3d 1372, 1377 (Fed.
Cir. 1998) (citing McNutt v. Gen. Motors Acceptance Corp. of Ind., 298 U.S. 178,
189 (1936)), and must do so by a preponderance of the evidence, Reynolds, 846
F.2d at 748 (citations omitted). Although “pro se plaintiffs are held to a lower
standard of pleading than those represented by counsel, all those seeking to invoke
this court’s subject matter jurisdiction ultimately retain the burden of establishing
that the jurisdictional requirements are met.” See Searles v. United States, 88 Fed.
Cl. 801, 803 (2009) (citing Keener v. United States, 551 F.3d 1358, 1361 (Fed.
Cir. 2009)); Minehan v. United States, 75 Fed. Cl. 249, 253 (2007) (“[T]he

4
Case 1:10-cv-00531-LJB Document 13 Filed 01/28/11 Page 5 of 12

leniency afforded to a pro se litigant with respect to mere formalities does not
relieve the burden to meet jurisdictional requirements.”).

The court may look at evidence outside of the pleadings in order to
determine its jurisdiction over a case. Martinez v. United States, 48 Fed. Cl. 851,
857 (2001) (citing RHI Holdings, Inc. v. United States, 142 F.3d 1459, 1461-62
(Fed. Cir. 1998); Rocovich v. United States, 933 F.2d 991, 993 (Fed. Cir. 1991)),
aff'd in relevant part, 281 F.3d 1376 (Fed. Cir. 2002). “Indeed, the court may, and
often must, find facts on its own.” Jd. If jurisdiction is found to be lacking, this
court must dismiss the action. RCFC 12(h)(3).

The Tucker Act provides in relevant part that the

United States Court of Federal Claims shall have
jurisdiction to render judgment upon any claim against
the United States founded either upon the Constitution,
or any Act of Congress or any regulation of an executive
department, or upon any express or implied contract with
the United States, or for liquidated or unliquidated
damages in cases not sounding in tort.

28 U.S.C. § 1491(a)(1). While the Tucker Act constitutes a limited waiver of the
government’s sovereign immunity, that statute “does not create a substantive cause
of action; in order to come within the jurisdictional reach and the waiver of the
Tucker Act, a plaintiff must identify a separate source of substantive law that
creates the right to money damages.” Fisher v. United States, 402 F.3d 1167,

1172 (Fed. Cir. 2005) (en banc in relevant part). In addition, “[n]ot every claim
invoking the Constitution, a federal statute, or a regulation is cognizable under the
Tucker Act.” United States v. Mitchell, 463 U.S. 206, 216 (1983). On the

contrary,

[t]he claim must be one for money damages against the
United States, see United States v. King, 395 U.S. 1, 2-3
(1969), and the claimant must demonstrate that the
source of substantive law he relies upon “can be fairly
interpreted as mandating compensation by the Federal
Government for the damages sustained.”

5
Case 1:10-cv-00531-LJB Document 13 Filed 01/28/11 Page 6 of 12

Id. at 216-17 (quoting United States v. Testan, 424 U.S. 392, 400 (1976)) (internal
quotations omitted). If the asserted constitutional or statutory basis of a claim
does not mandate the payment of money by the government, the court must
dismiss the action because “the absence of a money-mandating source [is] fatal to
the court’s jurisdiction under the Tucker Act.” Fisher, 402 F.3d at 1173.

II. Analysis of Plaintiff’s Claims

Ms. Burns seeks both damages and injunctive relief for the alleged violation
of various constitutional provisions. Because the court does not have subject
matter jurisdiction over any of the claims asserted by plaintiff, defendant’s motion
to dismiss the complaint must be granted.

A. Constitutional, Tort, and Civil Rights Claims

Plaintiff first asserts that she is entitled to both monetary damages and
injunctive relief under various provisions of the United States Constitution.
Before addressing the specific jurisdictional bases asserted in the complaint, the
court first notes that it does not, in general, have jurisdiction over claims related to
the administration of the criminal justice system. See Joshua v. United States, 17
F.3d 378, 379 (Fed. Cir. 1994) (noting that “[t]he court has no jurisdiction to
adjudicate any claims whatsoever under the federal criminal code”); Kania v.
United States, 650 F.2d 264, 268 (Ct. Cl. 1981) (“[T]he role of the judiciary in the
high function of enforcing and policing the criminal law is assigned to the courts
of general jurisdiction and not to this court.... It is particularly unreasonable to
suspect that Congress in enacting the Tucker Act intended for this court to
intervene in the delicate and sensitive business of conducting criminal trials.”’);
Reid v. United States, 95 Fed. Cl. 243, 249 (2010) (““The Court of Federal Claims
does not have jurisdiction over criminal claims.”); Hufford v. United States, 87
Fed. Cl. 696, 702 (2009) (“This court lacks jurisdiction to adjudicate criminal
claims.”).

Plaintiff asserts that her criminal conviction violated the Double Jeopardy
Clause of the Fifth Amendment. The court need not address the merits of that
claim because there is no question that it is beyond this court’s jurisdiction. See
James v. Caldera, 159 F.3d 573, 581 (Fed. Cir. 1998) (noting that “it is well
established that the Court of Federal Claims lacks jurisdiction over... claims

6
Case 1:10-cv-00531-LJB Document 13 Filed 01/28/11 Page 7 of 12

[under the Double Jeopardy and Due Process Clauses of the Fifth Amendment]
because neither of the two clauses is a money-mandating provision”); Flowers v.
United States, 80 Fed. Cl. 201, 214 (2008) (holding that this court lacks
jurisdiction over claims under the Double Jeopardy Clause).

Ms. Burns also contends that her conviction was unconstitutional because it
was based on statements that were elicited in the absence of the warnings required
under Miranda. However, the warnings mandated by the Supreme Court’s
decision in Miranda are based upon the Fifth Amendment’s requirement that no
person “shall be compelled in any criminal case to be a witness against himself,”
see U.S. Const. amend. V, and claims based on that provision are not within the
jurisdiction of this court. See Betz v. United States, 40 Fed. Cl. 286, 292 (1998)
(“The Fifth Amendment privilege against self-incrimination does not, in itself,
require the payment of money for its violation, regardless of whether Miranda
warnings were provided. Thus, the court does not have jurisdiction under the
Tucker Act over this claim.”). In short, this court may not address the merits of
any claims based on the government’s alleged failure to comply with the
requirements of Miranda.

The court is similarly without jurisdiction over any claims arising under the
Due Process Clause of the Fifth Amendment because that constitutional provision
is not a money-mandating source. See, e.g., LeBlanc v. United States, 50 F.3d
1025, 1028 (Fed. Cir. 1995) (holding that this court has no jurisdiction over claims
arising under the Due Process Clause); Carruth v. United States, 627 F.2d 1068,
1081 (Ct. Cl. 1980) (“This court has no jurisdiction over claims based upon the
Due Process and Equal Protection guarantees of the Fifth Amendment, because
these constitutional provisions do not obligate the Federal Government to pay
money damages.”).

Ms. Burns claims that she is entitled to money damages as compensation for
“pain and suffering, slavery, sexual assault and loss of pursuit of livelihood of
income” while she was incarcerated. Even if the court assumes the truth of those
serious allegations, Ms. Burns does not cite any source of law that might create a
right to recovery on that basis. First, to the extent that the alleged harm to plaintiff
resulted from the government’s negligence, these claims would sound in tort, and
the court does not have jurisdiction over such claims. The jurisdiction exercised by
this court under the Tucker Act is expressly limited to claims “not sounding in

7
Case 1:10-cv-00531-LJB Document 13 Filed 01/28/11 Page 8 of 12

tort.” 28 U.S.C. § 1491(a)(1); see also Keene Corp. v. United States, 508 U.S.
200, 214 (1993) (noting that “tort cases are outside the jurisdiction of the Court of
Federal Claims”); Brown v. United States, 105 F.3d 621, 623 (Fed. Cir. 1997)
(noting that the court “lacks jurisdiction over tort actions against the United
States”). Such claims are properly raised only in the district courts. See Hall v.
United States, 91 Fed. Cl. 762, 771 (2010) (“The Federal Tort Claims Act
(‘FTCA’) grants the United States district courts exclusive jurisdiction to hear tort
claims against the United States, and, therefore, the proper forum for federal tort
claims is a United States district court.”); Brown v. United States, 74 Fed. Cl. 546,
549 (2006) (holding that “the FTCA grants exclusive jurisdiction to the United
States federal district courts regarding tort claims against the United States
Government”).

In addition, the court would not have jurisdiction over a claim that plaintiff
was subjected to conditions during her incarceration that violated the requirements
of the Eighth Amendment, which prohibits “cruel and unusual punishments... .”
U.S. Const. amend. VIII. Because this constitutional provision does not require
the payment of money by the government, claims based on this provision are not
within the court’s jurisdiction. See Trafny v. United States, 503 F.3d 1339, 1340
(Fed. Cir. 2007) (holding that the “Court of Federal Claims does not have
jurisdiction over claims arising under the Eighth Amendment”).

Plaintiff argues that her conviction and incarceration have deprived plaintiff
of her civil rights. However, this court is without jurisdiction over alleged
violations of federal civil rights statutes. See Elkins v. United States, 229 Ct. Cl.
607, 608 (1981) (holding that this court does “not have jurisdiction over claims
based upon alleged violations of the civil rights laws”), Congress has vested
exclusive jurisdiction over such claims within the federal district courts. See 28
U.S.C. § 1343 (2006); Modena v. Neff, 91 Fed. Cl. 29, 34 (2010) (holding that
“le]xclusive jurisdiction to hear civil rights claims resides in the federal district
courts”); Hufford, 87 Fed. Cl. at 703 (holding that “Congress has committed
jurisdiction of § 1983 ‘constitutional tort’ actions to the district courts”).

Plaintiff further asserts that she has been subjected to “slavery,” and thus
appears to make an implied claim under the Thirteenth Amendment. Of course,
this court does not have subject matter jurisdiction over claims raised under that
constitutional provision. See Nwogu v. United States, 94 Fed. Cl. 637, 650 (2010)

8
Case 1:10-cv-00531-LJB Document 13 Filed 01/28/11 Page 9 of 12

(holding that the Thirteenth Amendment does not require the payment of money
for its violation and thus provides no basis for this court’s jurisdiction); Johnson v.
United States, 79 Fed. Cl. 769, 774 (2007) (“This court... cannot entertain claims
brought under the Thirteenth Amendment because it does not mandate the
payment of money damages for its violation.”).

Finally, Ms. Burns alleges that the U.S. Constitution is a contract between
the government and its citizens, which provides a basis for jurisdiction in this
court. Under the Tucker Act, this court possesses subject matter jurisdiction over
claims based “upon any express or implied contract with the United States... .”
28 U.S.C. § 1491(a)(1). However, this court has held that the Constitution is not a
contract for purposes of its jurisdiction under the Tucker Act. See Dumonde v.
United States, 87 Fed. Cl. 651, 654 (2009) (rejecting the argument that the
violation of a constitutional provision breached a contract between the government
and the plaintiff as a citizen of the United States). For the foregoing reasons, the
court concludes that it may not exercise subject matter jurisdiction under any of
the express or implied sources of law set forth in the complaint.

B. Unjust Conviction Statute

This court does have subject matter jurisdiction in limited circumstances
over claims seeking damages caused by unjust conviction and imprisonment. See
28 U.S.C. § 1495 (2006) (“The United States Court of Federal Claims shall have
jurisdiction to render judgment upon any claim for damages by any person
unjustly convicted of an offense against the United States and imprisoned.”).
Although plaintiff did not cite section 1495 in support of her claims, the court will
address the applicability of that provision in an effort to discern any possible
claims that might be reasonably inferred from the factual allegations set forth in
her pro se complaint. As discussed below, the court concludes that plaintiff
cannot prevail under section 1495.

This court may exercise jurisdiction under section 1495 only when the
plaintiff has been pardoned or when the original conviction has been reversed or
set aside on the basis that the plaintiff was not guilty of the crime that resulted in
the conviction and incarceration. See 28 U.S.C. § 2513 (2006). Moreover, the
pardon or reversal must be demonstrated with a certificate of the pardon or from
the court that set aside the conviction. /d. Ms. Burns does not contend that she

9
Case 1:10-cv-00531-LJB Document 13 Filed 01/28/11 Page 10 of 12

has been pardoned or that any court has determined that she did not commit the
crimes for which she was convicted. In the absence of such documentation, the
court has no jurisdiction under section 1495.° See Grayson v. United States, 141
Ct. Cl. 866, 869 (1958) (“It is clear that [sections 1495 and 2513] must be read
together, since the one refers to the other. When they are read together it becomes
manifest that the sections confer jurisdiction on this court only in cases where
there has been conviction and in which the other conditions set out in section 2513
are complied with.”); Lott v. United States, 11 Cl. Ct. 852, 853 (1987) (“[Sections
1495 and 2513] do not confer upon the Claims Court the power to review and
overturn convictions. Rather, the court’s jurisdiction to entertain a claim for
money damages for unjust conviction arises only after the challenged conviction
has been reversed, on grounds of innocence, by a court of competent jurisdiction
or by Presidential pardon.”); see also Vincin v. United States, 468 F.2d 930, 933
(Ct. Cl. 1972) (noting that the exercise of jurisdiction under the unjust conviction
statute requires strict adherence to the requirement that a plaintiff produce a
certificate of innocence or documentation of a pardon).

C. Request for Injunctive Relief

In connection with the claims discussed above, Ms. Burns also requests an
injunction vacating her criminal conviction or compelling other courts to do so.
However, this court is authorized to grant injunctive relief in only two limited
circumstances. First, the court may award injunctive and declaratory relief in bid
protest cases. 28 U.S.C. § 1491(b)(2) (2006). In addition, the court may award
such relief when it is “an incident of and collateral to” a money judgment. James,

 

3/ In Grayson, the Court of Claims held that it did not possess jurisdiction over a claim
under the unjust conviction statute when a plaintiff neglected to provide the required certificate
of exoneration or pardon. However, the court notes that a failure to meet the requirements of
section 2513 might be more appropriately viewed as a failure to state a claim — rather than a
failure to meet a jurisdictional prerequisite — in light of the Federal Circuit’s en banc holding in
Fisher, 402 F.3d at 1175-76 (“Assuming the Court of Federal Claims has taken jurisdiction over
the cause as a result of the initial determination that plaintiff's cause rests on a money-mandating
source, the consequence of a ruling by the court on the merits, that plaintiff's case does not fit
within the scope of the source, is simply this: plaintiff loses on the merits for failing to state a
claim upon which relief can be granted.”). Regardless of whether the unjust conviction claim in
this case is reviewed under RCFC 12(b)(1) or RCFC 12(b)(6), the result is the same: the claim
must be dismissed.

10
Case 1:10-cv-00531-LJB Document 13 Filed 01/28/11 Page 11 of 12

159 F.3d at 580. Because Ms. Burns is not entitled to any monetary damages in
this case, however, the court is unable to award the additional equitable relief she
has requested. This court has no general authority to award equitable relief, see
Bowen v. Massachusetts, 487 U.S. 879, 905 (1988) (“The Claims Court does not
have the general equitable power of a district court to grant prospective relief.”),
and it has no specific authority to review the decisions of a district court, see
Joshua, 17 F.3d at 1380 (noting that “the Court of Federal Claims does not have
jurisdiction to review the decisions of district courts . . . relating to proceedings
before those courts”). The request to vacate the criminal conviction of Ms. Burns
must also be denied because it is not within this court’s jurisdiction or authority.

CONCLUSION

The court has concluded that there is no jurisdictional basis in this court for
any of the claims raised by plaintiff. For that reason, her complaint must be
dismissed for lack of subject matter jurisdiction. The court has considered transfer
of the claims over which this court lacks jurisdiction, but concludes that it is not in
the interest of justice to do so.*

Accordingly, it is hereby ORDERED that

(1) Defendant’s Motion to Dismiss, filed October 8, 2010, is
GRANTED;

 

47 Although plaintiff does not request that the court transfer her case to an appropriate
district court, that is the action that this court would normally take if it appeared that a particular
district court had jurisdiction over the claims raised in the complaint. Under the transfer statute,
“fw]henever a civil action is filed in a court . . . and that court finds that there is a want of
jurisdiction, the court shall, if it is in the interest of justice, transfer such action . . . to any other
such court in which the action . . . could have been brought... .” 28 U.S.C. § 1631 (2006). In
order to transfer a claim to a district court, this court must first determine that the district court
has jurisdiction to hear and decide the transferred claim on the merits. In the circumstances
presented here, and in light of the extensive litigation already conducted in the district court and
the Seventh Circuit, it is unlikely that any district court would have jurisdiction over the claims
raised by Ms. Burns in her complaint. For that reason, transfer of her suit would not be in the
interest of justice.

1]
Case 1:10-cv-00531-LJB Document 13 Filed 01/28/11 Page 12 of 12

(2) The Clerk’s Office is directed to ENTER final judgment in favor of
defendant, DISMISSING the complaint for lack of jurisdiction,
without prejudice; and

(3) Nocosts.

Whig GLA

LYNN J. BUSH ~
Jud

[2
